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                                   2                                   UNITED STATES DISTRICT COURT

                                   3                                  NORTHERN DISTRICT OF CALIFORNIA

                                   4
                                        EPIC GAMES, INC.,                               Case No. 4:20-cv-05640-YGR
                                   5

                                   6           Plaintiff and Counter-Defendant,         ORDER REGARDING EVIDENTARY
                                                                                        HEARING SCHEDULE
                                   7                          v.
                                   8
                                        APPLE INC.,
                                   9
                                               Defendant and Counterclaimant.
                                  10

                                  11          TO ALL PARTIES AND COUNSEL OF RECORD:

                                  12          In anticipation of the upcoming evidentiary hearing, please be advised that the Court’s
Northern District of California
 United States District Court




                                  13   schedule will be as follows:

                                  14          For Monday February 24, 2025:

                                  15                  8:30 a.m. – 10:00 a.m. (1.5 hours), then a 20-minute break

                                  16                  10:20 a.m. – 11:50 a.m. (1.5 hours), then a 40-minute break

                                  17                  12:30 p.m. – 2:00 p.m. (1.5 hours), then a 20-minute break

                                  18                  2:20 p.m. – 4:00 p.m. (1 hour, 40 minutes)

                                  19          For Tuesday, February 25, 2025:

                                  20                  8:30 a.m. – 10:00 a.m. (1.5 hours), then a 20-minute break

                                  21                  10:20 a.m. – 11:50 a.m. (1.5 hours), then a 40-minute break

                                  22                  12:30 p.m. – 2:00 p.m. (1.5 hours), then a 20-minute break

                                  23                  2:20 p.m. – 3:30 p.m. (1 hour, 10 minutes)

                                  24          For Wednesday, February 26, 2025:

                                  25                  8:00 a.m. – 9:20 a.m. (1 hour 20 min), then a 10-minute break

                                  26                  9:30 a.m. – 10:50 a.m. (1 hour 20 min)

                                  27                  12:30 p.m. – 2:00 p.m. (1.5 hours), then a 20-minute break

                                  28                  2:20 p.m. – 4:00 p.m. (1 hour, 40 minutes)
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                                   1          The order of witnesses shall be filed by noon on Friday, February 21, 2025. Witness

                                   2   binders with exhibits shall be provided to the Court as well has hard copies of any transcripts that

                                   3   may be used for impeachment purposes.

                                   4          IT IS SO ORDERED.

                                   5   Dated: February 18, 2025
                                                                                                YVONNE GONZALEZ ROGERS
                                   6                                                           UNITED STATES DISTRICT JUDGE
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Northern District of California
 United States District Court




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